4/28/2021   Case 5:21-cv-00616-JWH-SP Document
                                           Gmail183-31      Filed
                                                 - Escrow contact    09/07/22 Page 1 of 4 Page ID
                                                                  information
                                             #:2614

                                                                                                     Artur Elizarov <arthur.elizarov@gmail.com>



  Escrow contact information
  Gregory Hill <GHill@goldwaterbank.com>                                                                                    Thu, Feb 4, 2021 at 8:17 AM
  To: "arthur.elizarov@gmail.com" <arthur.elizarov@gmail.com>


    Good morning Art,



    Would you mind sending me the escrow contact information so we can assist with providing the loan
    payoff information for Overlook Road?



    Thank you,


    Greg.




                                                            Gregory D. Hill, CMPS®
                                                            Sales Manager

                                                            Goldwater Mortgage, A Division of Goldwater Bank, N.A.

                                                            NMLS# 247349, Corporate NMLS# 452955

                                                            Preferred: 415.205.8858 | Email: ghill@goldwaterbank.com

    WS: HillGroupMortgageAdvisors.com

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    Be aware! Online Banking Fraud is on the rise. This institution does not issue wiring instructions for mortgage
    originations. If you receive an email containing WIRE TRANSFER INSTRUCTIONS call your Title Company or
    Settlement Agent's escrows officer immediately to verify the information prior to sending funds.

                                                                                                                              Exhibit P - 1
https://mail.google.com/mail/u/3?ik=4f38e8be17&view=pt&search=all&permmsgid=msg-f%3A1690782057862874761&simpl=msg-f%3A16907820578…                              1/2
4/28/2021   Case 5:21-cv-00616-JWH-SP Document
                                           Gmail183-31      Filed
                                                 - Escrow contact    09/07/22 Page 2 of 4 Page ID
                                                                  information
                                             #:2615
     2 attachments




                                               image001.jpg
                                               12K




                      image003.jpg
                      5K




                                                                                                         Exhibit P - 2
https://mail.google.com/mail/u/3?ik=4f38e8be17&view=pt&search=all&permmsgid=msg-f%3A1690782057862874761&simpl=msg-f%3A16907820578…   2/2
4/28/2021   Case 5:21-cv-00616-JWH-SP
                                   Gmail -Document   183-31
                                          Fwd: CONGRATS!!        Filed
                                                          New Escrow 291 09/07/22      Page
                                                                         W Overlook, Palm      3 of 4 Page ID
                                                                                          Springs
                                                    #:2616

                                                                                        Artur Elizarov <arthur.elizarov@gmail.com>



  Fwd: CONGRATS!! New Escrow 291 W Overlook, Palm Springs
  Artur Elizarov <arthur.elizarov@gmail.com>                                                          Wed, Mar 3, 2021 at 11:44 AM
  To: Peter Hill <PHill@goldwaterbank.com>




                               WARNING! WIRE FRAUD ADVISORY
             Before sending funds, always call your Escrow team to verify wire information




                                            Andrea Cross

                                              Escrow Officer




                          9440 Santa Monica Blvd. Suite 310, Beverly Hills, CA. 90210

                             P. (310) 402-5555 ext. 2071 | E-Fax. (310) 402-5556


                                            Direct. (310) 402-5470


                                           www.escrowofthewest.com




                                            click here for disclosure




            We are always looking for ways to improve our service. Please take a moment to
                       complete this short survey about your recent experience.




                                                                                                         Exhibit P - 3
https://mail.google.com/mail/u/3?ik=4f38e8be17&view=pt&search=all&permmsgid=msg-a%3Ar6367089134471987977&dsqt=1&simpl=msg-a%3Ar63…   1/2
4/28/2021   Case 5:21-cv-00616-JWH-SP
                                   Gmail -Document   183-31
                                          Fwd: CONGRATS!!        Filed
                                                          New Escrow 291 09/07/22      Page
                                                                         W Overlook, Palm      4 of 4 Page ID
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                                                    #:2617




     4 attachments
            291 W Overlook,PS_Termite Report.pdf
            1989K
            291 W Overlook, PS_RPA.pdf
            909K
            291 W Overlook, PS_ADM1.pdf
            294K
            291 W Overlook, PS_CR1.pdf
            242K




                                                                                                         Exhibit P - 4
https://mail.google.com/mail/u/3?ik=4f38e8be17&view=pt&search=all&permmsgid=msg-a%3Ar6367089134471987977&dsqt=1&simpl=msg-a%3Ar63…   2/2
